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                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


IN RE:                                       )
                                             )
NIKQUISA NUNN,                               )              Case No. 23-00041-JJG-7
                                             )
                       Debtor.               )
                                             )
                                             )
NIKQUISA NUNN,                               )
                                             )
                       Plaintiff,            )
                                             )
         v.                                  )              Adversary Proceeding No. 23-50023
                                             )
EDUCATIONAL CREDIT                           )
MANAGEMENT CORPORATION,                      )
                                             )
                       Defendant.            )


                             JOINT STIPULATION DISMISSING
                                ADVERSARY PROCEEDING

         Plaintiff, Nikquisa Nunn and Defendant, Educational Credit Management Corporation, by

their respective counsel and pursuant to Fed. R. Civ. Pro. 41(1)(A)(ii), made applicable to this

matter by Fed. R. Bankr. P. 7041, hereby stipulate to the dismissal of all claims and counterclaims

asserted in the above-captioned adversary proceeding without prejudice, and with all parties

bearing their own costs.


         Respectfully submitted,


   ICE MILLER, LLP

   By: /s/ Alexandria Lundberg                              Dated: 06/28/2024
   Alexandria Lundberg (37881-49)
   Jeffrey A. Hokanson (14579-49)

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    Attorneys for Plaintiff, Nikquisa Nunn

    FROST BROWN TODD, LLC


    By: /s/ Bryan Sisto                                         Dated: 06/28/2024
    Bryan Sisto
    Frost Brown Todd, LLC
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    Attorneys for Defendant, Educational
    Credit Management Corporation


                                  CERTIFICATE OF SERVICE

       I hereby certify that on June 28, 2024, a copy of the foregoing was filed electronically.
Notice of this filing will be sent all parties of record by operation of the Court’s electronic filing
system. Parties may access this filing through the Court’s system.

         I further certify that a copy of this Stipulation was served upon Plaintiff by postage prepaid,
first-class U.S. mail to her last known address, to wit:


                Nikquisa L. Nunn
                9533 Devers Way, Apt. L
                Indianapolis, IN 46216
                                                                        /s/ Alexandria A. Lundberg
                                                                        Alexandria A. Lundberg


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